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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


   IN RE: VALSARTAN,
   LOSARTAN, AND IRBESARTAN                                        MDL No. 2875
   PRODUCTS LIABILITY
   LITIGATION
                                                           HON. ROBERT B. KUGLER
   THIS DOCUMENT RELATES TO ALL                             CIVIL NO. 19-2875 (RBK)
   CASES



      CERTIFICATION OF ROSEMARIE RIDDELL BOGDAN IN OPPOSITION TO
    DEFENDANTS’ DAUBERT MOTION TO PRECLUDE OPINIONS OF PLAINTIFFS’
                     EXPERT DIPAK PANIGRAHY, M.D.

         Rosemarie Riddell Bogdan, hereby certifies as follows:

         1.     I am an attorney at law within the State of New York and a partner with the law

  firm of Martin, Harding & Mazzotti, LLP, and serve as Court-appointed Plaintiffs’ Steering

  Committee Counsel. I am fully familiar with the facts and circumstances of these actions. I make

  this Certification in opposition to Defendants’ motion to preclude opinions of the testimony of

  Dipak Panigrahy, M.D.

         2.      Attached hereto as Exhibit A is a true and accurate copy of Dr. Panigrahy’s Expert

  Report and addendum served in MDL 2875.

         3.     Attached hereto as Exhibit B is a true and accurate copy of Dr. Panigrahy’s CV

  served in MDL 2875.

         4.     Attached hereto as Exhibit C is a true and accurate copy of the complete transcript

  of the deposition of Dr. Dipak Panigrahy, in MDL 2875, dated September 9, 2021, September 10,

  2021, and October 27, 2021.
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         5.      Attached hereto as Exhibit D is a true and accurate copy of “Control of Nitrosamine

  Impurities in Human Drugs; Guidance for Industry” by the FDA Center for Drug Evaluation and

  Research (CDER), dated February 2021.

         6.      Attached hereto as Exhibit E is a true and accurate copy of “ICH M7(R1) Guidance

  for Industry: Assessment & Control of DNA Reactive (Mutagenic) Impurities in Pharmaceuticals

  to Limit Potential Carcinogenic Risk” dated March 2018.

         7.      Attached hereto as Exhibit F are true and accurate copies of excerpts of the

  deposition transcript of Dr. George Johnson, in MDL 2875 on October 4, 2021.

         8.      Attached hereto as Exhibit G are true and accurate copies of excerpts of the

  deposition transcript of Dr. Lewis Chodosh, in MDL 2875, on September 29, 2021.

         9.      Attached hereto as Exhibit H is a true and accurate copy of “Lifetime exposure to

  rubber dusts, fumes and N-nitrosamines and cancer mortality in a cohort of British rubber workers

  with 49 years follow up” by Hidajat et. al., dated 2019.

         10.     Attached hereto as Exhibit I is a true and accurate copy of an excerpt of Dr.

  Fryzek’s Expert Report served in MDL 2875.

         11.     Attached hereto as Exhibit J is a true and accurate copy of “Interspecies scaling of

  the pharmacokinetics of N-nitrosodimethylamine” by Gombar et. al., dated 1990;

  “Pharmacokinetics of N-nitrosodimethylamine in swine” by Gombar et. al., dated 1988; and

  “Pharmacokinetics of N-nitrosodimethylamine in beagles” by Gombar et. al., dated 1987.

         12.     Attached hereto as Exhibit K is a true and accurate copy of “Effects on 4080 Rats

  of Chronic Ingestion of N-nitrosodiethylamine or N-nitrosodimethylamine: A Detailed Dose

  Response Study” by Peto et. al., dated 1991.
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         13.     Attached hereto as Exhibit L are true and accurate copies of excerpts of “IARC

  Monographs on the Evaluation of the Carcinogenic Risk of Chemicals to Humans: Some N-Nitroso

  Compounds” Vol. 17, dated 1978.

         14.     Attached hereto as Exhibit M is a true and accurate copy of “FDA General Advice

  to ARB drug manufacturers”.

         15.     Attached hereto as Exhibit N is a true and accurate copy of “WHO Concise

  International Chemical Assessment Document 38- N-Nitrosodimethylamine” by Liteplo and Meek,

  dated 2002.

         16.     Attached hereto as Exhibit O is a true and accurate copy of ZHP recall notice for

  Valsartan; SOLCO00024226.

         17.     Attached hereto as Exhibit P are true and accurate copies of excerpts of the

  deposition transcript of Min Li, in MDL 2875 on April 22, 2021.

         18.     Attached hereto as Exhibit Q are true and accurate copies of excerpts of the

  deposition testimony of B.V. Ramarao, in MDL 2875 on April 29, 2021.

         19.     Attached hereto as Exhibit R is a true and accurate copy of ZHP’s test results to

  the FDA; SOLCO00028261.

         20.     Attached hereto as Exhibit S are true and accurate copies of excerpts of the

  deposition testimony of Hai Wang, in MDL 2875 on March 10, 2021.

         21.     Attached hereto as Exhibit T is a true and accurate copy of “Dietary N-nitroso

  compounds and risk of pancreatic cancer; results from a large case-control study” by Zheng et.

  al., dated 2018.
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         22.     Attached hereto as Exhibit U is a true and accurate copy of Wasserstein et al. The

  ASA Statement on p-Values: Context, Process, and Purpose, The American Statistician

  (2016),70:2.

         23.     Attached hereto is a true and accurate copy of In re Actos Pros. Liab. Litig., 2013

  U.S. Dist. LEXIS 179235 (2013).

         24.     Attached hereto is a true and accurate copy of Berman v. Mobil Shipping &

  Transp., Co., 2019 U.S. Dist. LEXIS 55671; 2019 WL 1510941 (2019) .

         25.     Attached hereto is a true and accurate copy of Coffin v. AMETEK, Inc., 2020 U.S.

  Dist. LEXIS 169589; 2020 WL 5552113 (2020).

         26.     Attached hereto is a true and accurate copy of McMunn v. Babcock & Wilcox

  Power Generation Group, Inc., 2013 US Dist. LEXIS 100259; WL 3487560 (2013).

         27.     Attached hereto is a true and accurate copy of Gorton v. Air & Liquid Sys. Cor.,

  2020 U.S. Dist. LEXIS 129606; 2020 WL 4193649, (M.D. Pa. 2020).

         28.     Attached hereto is a true and accurate copy of Hoffeditz v. AM Gen, LLC, 2017

  U.S. Dist. LEXIS 123493; 2017 WL 3332263 (D.N.J., 2017).




                                               MARTIN, HARDING & MAZZOTTI LLP
                                               Attorneys for Plaintiffs

                                               By:    /s/ Rosemarie Riddell Bogdan

  Dated: December 1, 2021
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                                  CERTIFICATE OF SERVICE




         I hereby certify that on December 1, 2021, I electronically filed the foregoing document

  with the Clerk of the Court using the CM/ECF system which will send notifications of such

  filing to the CM/ECF participants registered to receive service in this MDL.




                                       /s/ Rosemarie Riddell Bogdan

                                       Rosemarie Riddell Bogdan
